PROB 12C
(Rev. 8/18)

                             UNITED STATES DISTRICT COURT
                                                       for the
                                             District of New Hampshire

                  Petition for Warrant or Summons for Offender Under Supervision

Name of Offender: Timothy Adjutant                                           Case Number: 19-CR-90-1-SM
Name of Sentencing Judicial Officer:     Honorable Steven J. McAuliffe
Date of Original Sentence:   September 9, 2020
Original Offense: Distribution of Buprenorphine Near a School
Original Sentence:   21 months imprisonment, followed by 4 years of supervised release
Revocation:          N/A
Type of Supervision: Supervised release                 Date Supervision Commenced:      October 21, 2020
Assistant U.S. Attorney: John S. Davis                     Defense Attorney: Robert S. Carey


                                            PETITIONING THE COURT

☒ To issue a warrant
☐ To issue a summons
☐ Other:

The probation officer believes that the offender has violated the following condition(s) of supervision:

     Violation Number        Nature of Noncompliance

              1              Violation of Mandatory Condition: You must not commit another federal, state
                             or local crime. On or about December 22, 2020, in Somersworth, NH, the defendant
                             did commit the offense of Convicted Felon in Possession of a Firearm, in violation
                             of 18 U.S.C. § 924(g)(1) and NH RSA 159:3, when he knowingly possessed a Raven
                             Arms Model MP-25 handgun Serial #1169104 after having been convicted of the
                             instant offenses in this Court.

                             Evidence in support of this charge includes an affidavit by a sergeant with the
                             Somersworth (NH) Police Department and a criminal complaint filed in the Strafford
                             County (NH) Superior Court.

              1              Violation of Standard Condition: You must not communicate or interact with
                             someone you know is engaged in criminal activity. If you know someone has been
                             convicted of a felony, you must not knowingly communicate or interact with that
                             person without first getting the permission of the probation officer. On or about
                             December 22, 2020, in Somersworth, NH, and elsewhere, the defendant associated
                             with Caitlin Fillion, a convicted felon, without the permission of the probation
                             officer.
Timothy Adjutant                                      Page 2 of 2                                                 12/23/20



                            Evidence in support of this charge includes a police report from the Somersworth
                            Police Department outlining the defendant’s contact with Fillion.


U.S. Probation Officer Recommendation:
☒ The term of supervision should be
        ☒ revoked.
        ☐ extended for years, for a total term of years.
☐ The conditions of supervision should be modified as follows:

                                          I declare under penalty of perjury that the foregoing is true and correct.
                                                                          Respectfully submitted by,

                                                                          /s/ Scott M. Davidson
                                                                          Scott M. Davidson
                                                                          U.S. Probation Officer
                                                                          603-225-1430
                                                                    Date: December 23, 2020

Reviewed & Approved by:

/s/Eric G. Gray
Eric G. Gray
Supervisory U.S. Probation Officer
603-545-7617



THE COURT ORDERS:

☐ No action
X The issuance of a warrant. Petition and issuance of the warrant to remain sealed pending arrest.
☐

☐ The issuance of a summons.

☐ Other:




                                                                             _______________________________
                                                                                  Signature of Judicial Officer

                                                                                 12/23/2020
                                                                             _______________________________
                                                                                              Date
